                Case 4:97-cr-40069-JPG                     Document 313 Filed 03/30/10                     Page 1 of 3            Page ID
't);,.AO 2450                                                        #140
                 (Rev. 12/07) Judgment in a Criminal Case for Revocations
                 Sheet 1



                                         UNITED STATES DISTRICT COURT,s                                              c(~ ~ J ItO
                                                              Southern District of Illinois                      OU1"If:~ 1.1.8          02010
                                                                                                                            ""D,.. DI8
                                                                                                                         ltt;'"" ..sr~ r'?IC
           UNITED STATES OF AMERICA                                          Judgment in a Criminal Case                         o~di,r    0: cOl.!
                           v.                                                (For Revocation of Probation or Supervised Release)         I:",CS- 14/tv,1?01"
                                                                                                                                                          IS
                 WILLIAM LEON WRIGHT

                                                                             Case No. 97CR40069-005-JPG
                                                                             USM No. 04214-025
                                                                               Judith Kuenneke, AFPD
                                                                                                      Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)               as alleged below                  of the term of supervision.
D    was found in violation of condition(s)                _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                 Nature of Violation                                                                 Violation Ended
Statutory                           The defendant tested positive for marijuana                                      01/28/2010



Standard                            The defendant failed to make monthly payments as ordered                         01/30/2010



       The defendant is sentenced as provided in pages 2 through _-,3,--_ ofthis judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D    The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes In
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 3413                           03/25/2010

Defendant's Year of Birth:             1974

City and State of Defendant's Residence:                                                               Signature of Judge
Centralia, IL 262801
                                                                              J. Phil Gilbert                               District Judge
                                                                                                    Name and Title of Judge


                                                                                                              Date
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AO 245D                                                        #141
          (Rev. 12/07) Judgment in a Criminal Case for Revocations
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DEFENDANT: WILLIAM LEON WRIGHT
CASE NUMBER: 97CR40069-005-JPG

                                                     ADDITIONAL VIOLATIONS

                                                                                                              Violation
Violation Number              Nature of Violation                                                             Concluded
Standard # 5                  The defendant failed to maintain employemnt                                    11/13/2009



Special                       The defendant to participate in a program for urinalysis testing               02/11/2010
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  AO 245D                                                            #142
                (Rev. 12/07) Judgment in a Criminal Case for Revocations
                Sheet 2- Imprisonment

                                                                                                   Judgment-Page   _.:::3_ of     3
  DEFENDANT: WILLIAM LEON WRIGHT
  CASE NUMBER: 97CR40069-005-JPG


                                                                    IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  totaltenm of:
24 months (This sentence shall run concurrent with the sentence in 01-40027-01-JPG) (The Court requests that this
defendant not be placed in Memphis, TN).



       vi The court makes the following recommendations to the Bureau of Prisons:
That the defendant spend the last six months in a half way house and that the defendant receive drug treatment.




       "    The defendant is remanded to the custody of the United States Marshal.

       D    The defendant shall surrender to the United States Marshal for this district:
            D     at   ________ D                          a.m.      D     p.m.    on
            D     as notified by the United States Marshal.

       D    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            D     before 2 p.m. on
            D     as notified by the United States Marshal.
            o     as notified by the Probation or Pretrial Services Office.

                                                                           RETURN

  I have executed this judgment as follows:




            Defendant delivered on                                                      to

  at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                                UNITED STATES MARSHAL


                                                                                  By
                                                                                             DEPUTY UNITED STATES MARSHAL
